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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF COLORADO

   WARNER BROS. RECORDS INC., et al.,

          Plaintiffs,

   v.                                       C.A. No.: 19-cv-00874-MSK-MEH

   CHARTER COMMUNICATIONS, INC.,

          Defendant.

        DEFENDANT CHARTER COMMUNICATIONS, INC.’S MOTION TO DISMISS
                PLAINTIFFS’ CLAIM FOR VICARIOUS LIABILITY
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          Defendant Charter Communications, Inc. by and through its attorneys Fairfield and

   Woods, P.C. and Winston and Strawn LLP, hereby moves to dismiss the second claim for relief

   (vicarious liability), and as grounds therefor states as follows:

                                           INTRODUCTION

          This suit is the latest effort in the music industry’s campaign to hold Internet Service Pro-

   viders (“ISPs”) liable for copyright infringement, allegedly carried out by internet subscribers,

   for merely providing internet access. See, e.g., Sony Music Entm’t v. Cox Comm. Inc., 2018 WL

   6059386 (E.D. Va. Nov. 19, 2018); UMG Recordings Inc., et al. v. Grande Comm., 2018 WL

   1096871 (W.D. Tex. Feb. 28, 2018); UMG Recordings, Inc., et al v. Bright House Networks,

   LLC, No. 8:19-cv-00710-MSS-TGW (M.D. Fla. Mar. 3, 2019). ISPs such as Charter Communi-

   cations, Inc. (“Charter”) provide access to the internet, enabling subscribers to access the vast ar-

   ray of information available on the world wide web, including critical information during storms

   or national emergencies, job search sites, educational resources, news sites, as well as entertain-

   ment. There are a variety of threats involved with internet access, including hackers, spammers,

   and infringers who utilize evolving technology to facilitate illegal activity. Rather than view ISPs

   as other victims of these abusers—or allies in the fight against them—Plaintiffs accuse ISPs like

   Charter of infringement for merely providing access to the internet.

          Plaintiffs assert two claims for secondary liability against Charter—contributory infringe-

   ment and vicarious liability, each having separate elements. Both claims will ultimately fail for

   many reasons, including the fact that Plaintiffs cannot establish the predicate direct infringement

   of their copyrights. In this motion, however, Charter seeks only to dismiss the vicarious liability

   claim. Vicarious liability requires a defendant to profit directly from infringement that it has both

   a right and ability to control. Plaintiffs’ effort to hold the wrong party accountable for vicarious



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   liability out of convenience—seeking vast windfalls in statutory damages—is inherently flawed

   in this context. Specifically, Plaintiffs’ vicarious liability claim is foreclosed as a matter of law

   by Plaintiffs’ failure to make plausible allegations that Charter has directly enjoyed a financial

   benefit from the allegedly infringing activity or has the ability to control subscribers allegedly

   infringing activity in the first place. That claim must therefore be dismissed.

           First, Plaintiffs fail to make plausible allegations that Charter received any financial ben-

   efit directly from the alleged infringements of its subscribers. For example, Plaintiffs do not al-

   lege that Charter itself owns or operates any file-sharing service, that Charter encourages or di-

   rects traffic to BitTorrent or other peer-to-peer file sharing protocols, that Charter receives any

   compensation from the use of such protocols, or that the revenue that Charter receives from al-

   legedly infringing subscribers varies in any way based on whether they infringe while using the

   internet—which, of course, has a host of important noninfringing uses. Nor do Plaintiffs allege

   that Charter specifically targets subscribers who infringe, that to infringe copyrights more easily

   infringers seek out Charter over competing providers, or that, but for Charter’s conduct, its sub-

   scribers would not use its internet services. Even crediting Plaintiffs’ allegations that subscribers

   can use Charter’s internet access service for allegedly infringing purposes, Plaintiffs do not, and

   cannot, allege that such allegedly infringing purposes act as a draw for subscribers to purchase

   Charter’s internet access service. Indeed, as other courts have recognized in distinguishing be-

   tween general-purpose ISPs like Charter and file-sharing protocols like BitTorrent or Napster,

   Plaintiffs’ profit theory is far too attenuated to support imposing vicarious liability here.

           Second, Plaintiffs do not plausibly allege that Charter maintains the right and ability to

   stop users from engaging in infringing activity. Charter cannot monitor and control its subscrib-

   ers’ use of the internet, and its ability to terminate subscribers altogether does not prevent them



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   from committing acts of infringement from other connections. Nor do Plaintiffs allege that Char-

   ter can block access to peer-to-peer file sharing protocols, which can be used for both infringing

   and non-infringing purposes.

          In sum, Plaintiffs’ claim that Charter is complicit in copyright infringement stretches vi-

   carious liability beyond the breaking point. That claim should be dismissed with prejudice.

                                                 FACTS

          Plaintiffs, some of the largest labels and publishers in the music industry, have regularly

   engaged in litigation alleging the unauthorized distribution of their works. Compl. ¶¶ 13, 33, 82.

   Plaintiffs’ allegations here stem from internet users’ alleged proliferation of infringing material

   using “peer-to-peer (“P2P”) distribution systems” and “most notably a protocol called ‘Bit-

   Torrent.’” Compl. ¶ 79. BitTorrent is a file-sharing service that permits users to upload and

   download content. Id. ¶¶ 79-81.

          Plaintiffs’ agents regularly send auto-generated copyright notices to ISPs regarding sub-

   scriber activity in droves. Id. ¶ 85. A typical notice indicates the ISP associated with the IP ad-

   dress involved in the alleged infringing activity, the work allegedly infringed, and the date and

   time of the alleged infringement. Id. ¶ 85. Notably, however, a notice does not amount to a find-

   ing or proof of infringement—it is merely an allegation that infringement has occurred. That is

   why Plaintiffs carefully plead that notices identify when activity has been “detected” rather than

   “confirmed.” Id. ¶ 86. Plaintiffs do not provide any further details concerning that detection, how

   any infringement occurred, and most importantly, how it was authenticated. See id.; ¶ 88 (alleg-

   ing only that specific IP addresses were “identified” in various notices without further detailing

   the alleged infringement or verification thereof).




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          Charter is one of the nation’s largest providers of high-speed internet access. Id. ¶ 74.

   Charter has never charged its subscribers based on the amount of downloaded content; Charter

   utilizes flat-fee subscription rates with graduated rate tiers for faster connections. Id. Importantly,

   Plaintiffs do not allege—because they cannot—that Charter has any connection to any file-shar-

   ing websites or technology. Plaintiffs do not allege that Charter has had any corporate relation-

   ship with, or financial interest in, BitTorrent at any point. Nor do Plaintiffs allege that Charter

   has ever promoted or offered any file-sharing services to subscribers—services freely available

   on the internet.

          Plaintiffs acknowledge that Charter utilizes a DMCA program to track, catalog, and re-

   spond to the notices it receives in an effort to curtail infringement. Id. ¶ 76. Nonetheless, Plain-

   tiffs claim that Charter “turns a blind eye” to the alleged infringement because its “failure to po-

   lice its infringing subscribers adequately was a draw to subscribers to purchase Charter’s ser-

   vices.” Id. ¶ 91. Notably, however, Plaintiffs’ “draw” theory lacks allegations that competing

   ISPs were terminating subscribers such that Charter’s supposed failure to do so attracted them.

   As pled, Plaintiffs also assume that P2P abuses are committed by the account holder who sub-

   scribed to Charter’s services instead of other household members, visitors, or people who have

   accessed Charter’s service in an unauthorized manner (or, with commercial accounts, those who

   use the service without having decision-making authority over the account).1




   1
     If the allegedly infringing activity is committed by a person other than the individual in a
   household who makes the decision regarding to which ISP service the household subscribes, then
   it goes without saying that such activity cannot be a draw to subscribe to Charter’s service.


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           Further, Plaintiffs recognize that Charter’s only ability to prevent or limit any infringe-

   ment occurring on its network stems from its technical ability to “suspend or terminate a cus-

   tomer’s [i]nternet access.” Id. ¶ 89.2 But as discussed below, the ability to terminate does not

   give Charter the ability to control infringing activity on the internet.

                                               ARGUMENT

           A.      Burden of Proof

           A claim should be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6) where

   the plaintiff has failed to state a claim for which relief can be granted. While a plaintiff need

   plead only sufficient facts to state a claim to relief that is plausible on its face, the facts must be

   pled in sufficient detail to “give the court reason to believe that this plaintiff has a reasonable


   2
     It goes without saying that in the modern world disconnecting a subscriber’s internet access is a
   drastic remedy. The federal government has recognized that having internet access is critical for
   people to participate in the modern world economy. See, e.g., In re Inquiry Concerning
   Deployment of Advanced Telecommunications Capability to All Americans in a Reasonable and
   Timely Fashion, 2018 Broadband Deployment Report, 33 FCC Rcd 1660 ¶ 1 (Feb. 2, 2018)
   (“Fixed and mobile broadband services provide Americans, especially those in rural and remote
   areas of the country, access to numerous employment, education, entertainment, and health care
   opportunities.”); Council of Economic Advisers Issue Brief, “The Digital Divide and Economic
   Benefits of Broadband Access,” at 1 (March 2016), https://obamawhitehouse.archives.gov/sites/
   default/files/page/files/20160308_broadband_cea_issue_brief.pdf) (“Broadband provides
   numerous socio-economic benefits to communities and individuals, improving labor market
   outcomes for subscribers, increasing economic growth, providing access to better health care,
   and enhancing civic participation.”); Aaron Smith, “Searching for Work in the Digital Era,” Pew
   Research Center (Nov. 19, 2015), https://www.pewinternet.org/2015/11/19/1-the-internet-and-
   job-seeking/ (“Digital resources are now more important than ever to Americans’ ability to
   research and apply for jobs,” and “the proportion of Americans who research jobs online has
   doubled in the last ten years.”); Remarks of Commissioner Jessica Rosenworcel, Federal
   Communications Commission, 20 Years of Connecting Schools and Libraries: Policy Summit,
   (Jan. 24, 2018), https://docs.fcc.gov/public/attachments/DOC-320122A1.pdf (noting “seven in
   ten teachers now assign homework that requires access to broadband” and raising concern that
   the lack of access is creating a “Homework Gap”); In re Promoting Telehealth for Low-Income
   Consumers, Notice of Inquiry, 33 FCC Rcd 7825 ¶ 1 (Aug. 3, 2018) (“High-quality health care
   has become increasingly reliant on the widespread availability of high-speed connectivity, and
   broadband-enabled telehealth services are assuming an increasingly vital role in providing
   care.”).


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   likelihood of mustering factual support for these claims.” Ridge at Red Hawk, LLC v. Schneider,

   493 F.3d 1174, 1177 (10th Cir. 2007) (emphasis in original).

           “Plausibility” in the Tenth Circuit “refer[s] to the scope of the allegations in a com-

   plaint.” Robbins v. Okla. ex rel. Okla. Dep’t of Human Servs., 519 F.3d 1242, 1247 (10th Cir.

   2008). Allegations are not sufficient “if they are so general that they encompass a wide swath of

   conduct, much of it innocent.” Id. (internal quotations omitted). “The allegations must be enough

   that, if assumed to be true, the plaintiff plausibly (not just speculatively) has a claim for relief.”

   Id. “This requirement of plausibility serves not only to weed out claims that do not (in the ab-

   sence of additional allegations) have a reasonable prospect of success, but also to inform the de-

   fendants of the actual grounds of the claim against them.” Id. at 1248. Thus, the allegations must

   “‘nudge[] [the] claims across the line from conceivable to plausible.’” Dennis v. Watco Cos.,

   Inc., 631 F.3d 1303, 1305 (10th Cir. 2011) (quotation omitted). Conclusory allegations are insuf-

   ficient. Gallagher v. Shelton, 587 F.3d 1063, 1068 (10th Cir. 2009).

           B.      Elements

           Vicarious liability requires a plaintiff to “establish that a defendant directly benefitted

   from the third parties’ infringement and had the ability to control the third parties’ infringing

   conduct.” Viesti Assocs., Inc. v. Pearson Educ., Inc., 2013 WL 4052024, at *8 (D. Colo. Aug. 12,

   2013) (quoting MGM Studios, Inc. v. Grokster, Ltd., 545 U.S. 913, 914 (2005)) (emphasis

   added); see also Diversey v. Schmidly, 738 F.3d 1196, 1204 (10th Cir. 2013). Courts in this cir-

   cuit follow Ninth Circuit precedent in assessing the defendant’s ability to control infringing con-

   duct—the defendant must have “both a legal right to stop or limit the directly infringing conduct,

   as well as the practical ability to do so.” Viesti, 2013 WL 4052024, at *8 (quoting Perfect 10,

   Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1173 (9th Cir. 2007)) (emphasis added).



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          C.      Elements Not Supported by Complaint

          Plaintiffs fail to adequately plead vicarious liability: the Complaint lacks plausible alle-

   gations that Charter (1) received a direct financial benefit from the alleged infringement, or

   (2) had the practical ability to stop it. Thus, their claim for vicarious liability must be dismissed.

                  1.      Plaintiffs seek to stretch the doctrine of vicarious liability far beyond
                          the narrow construction applied by courts.

          Vicarious copyright liability is a theory of implied secondary liability that must be nar-

   rowly construed. Sony Corp. of Am. v. Universal City Studios, 464 U.S. 417, 431 (1984) (citing

   several Supreme Court decisions reflecting the “recurring theme” that courts “must be circum-

   spect in construing the scope of [the] rights” created by implied copyright liability and “reluc-

   tan[t] to expand the[ir] protections … without explicit legislative guidance”). The doctrine origi-

   nated in Shapiro, Bernstein & Co. v. H. L. Green Co., 316 F.2d 304 (2d Cir. 1963), a Second

   Circuit decision that distinguished between two lines of cases detailing agency-type relation-

   ships: landlord-tenant situations and “dance hall” cases. Id. at 307; see Sony, 464 U.S. at 437

   n.18 (discussing Shapiro). The court there explained that if a “landlord lets his premises without

   knowledge of the impending infringement by his tenant, exercises no supervision over him,

   charges a fixed rental and receives no other benefit from the infringement, and contributes in no

   way to it, it has been held that the landlord is not liable for his tenant’s wrongdoing.” Shapiro,

   316 F.2d at 304 By contrast, the court explained, dance hall operators would be “liable for the

   infringement of copyright resulting from the performance of a musical composition by a band or

   orchestra whose activities provide the proprietor with a source of customers and enhanced in-

   come.” Id. at 307.

          The reason is obvious: When a landlord leases premises to someone, it is understood that

   the lessee will use the property for various purposes, at least some of which are plainly lawful, so


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   it makes little sense to attribute the financial benefit that the landlord receives from the tenant di-

   rectly to the lessee’s infringing activity as opposed to the lessee’s general use of the premises. By

   contrast, a dance-hall operator is directly benefitting financially not from general use of the

   premises, many of the uses of which are lawful, but from dance-hall activities involving copy-

   right infringement. And this case—where Charter provides general internet services which all

   subscribers will use for plainly lawful purposes—is akin to the former, not the latter.

           More recently in Coach, Inc. v. Swap Shop, Inc., a federal district court in Florida ex-

   pounded upon this direct/indirect distinction in the context of a swap meet. 2012 WL 12887010,

   at *8 (S.D. Fla. Sept. 21, 2012).3 The plaintiff there brought direct infringement claims against

   retailers selling knock-off Coach bags at a swap meet and secondary claims against the swap

   meet operator and the landlord of the property where the swap meet was held. Id. Drawing a dis-

   tinction between the defendants, the court held that the swap meet operator had “a direct finan-

   cial interest in the infringing activities because [the operator] receive[d] rents from [its] vendors,

   including those selling fake Coach products, along with parking and concession fees, which are

   fueled in large part by the draw created by the widespread availability of fake Coach products at

   the Flea Market,” whereas the landlord merely received the rent of the operator and therefore ex-

   perienced no direct financial benefit. 4 Id.



   3
     The court in Coach relied on Fonovisa v. Cherry Auction Inc., 76 F.3d 259, 263 (9th Cir.
   1996), to form the basis of its analysis. Fonovisa has been cited favorably by the Tenth Circuit
   and district courts in this Circuit for analyses of vicarious liability. See, e.g., Diversey, 738 F.3d
   at 1204.
   4
     The outcome in Coach is consistent with precedent in this district dismissing claims of
   vicarious liability against the operator of an online marketplace on summary judgment where any
   financial benefit was too attenuated. See Tomelleri v. Zazzle, Inc., 2015 WL 8375083, at *15 (D.
   Kan. Dec. 9, 2015) (dismissing vicarious liability claim where infringement was not a “draw” to
   users). Dismissal is appropriate at this phase in light of Plaintiffs’ failure to allege a causal
   connection between any benefit received by Charter from infringement of Plaintiffs’ works.

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                  2.      Plaintiffs fail to allege a causal connection between the alleged in-
                          fringement and Charter’s profits; any benefit is, therefore, too indi-
                          rect to state a claim.

           To adequately plead vicarious liability, Plaintiffs must allege that Charter received a “di-

   rect financial interest in the exploited copyrighted materials.” Shell v. Am. Family Rights Ass’n,

   2010 WL 1348548, at *16 (D. Colo. Mar. 31, 2010). Critically, the infringing activity must be

   more than an “added benefit” to a subscription; it must be the attracting factor, the “draw” for

   subscribers. Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 674 (9th Cir. 2017), cert. de-

   nied, 138 S. Ct. 504, 199 L. Ed. 2d 385 (2017); see also Ellison v. Robertson, 357 F.3d 1072,

   1079 n.10 (9th Cir. 2004) (plaintiff must establish that an ISP attracted subscriptions “because

   of” the infringement to establish a direct financial benefit); Perfect 10, Inc. v. CCBill LLC, 488

   F.3d 1102, 1117-18 (9th Cir. 2007) (finding no vicarious liability because evidence that “[de-

   fendant] ‘hosts’ websites for a fee” was too sparse to show a direct financial benefit and thus not

   “a draw” to subscribers); UMG Recordings, Inc. v. Veoh Networks Inc., 2009 WL 334022, at *6

   (C.D. Cal. Feb. 2, 2009), aff’d sub nom. UMG Recordings, Inc. v. Shelter Capital Partners LLC,

   667 F.3d 1022 (9th Cir. 2011), opinion withdrawn, superseded, and aff’d on reh’g, 718 F.3d

   1006 (9th Cir. 2013) (dismissing vicarious liability claim where financial benefit was too attenu-

   ated to be direct); Thomson v. HMC Grp., 2014 WL 12589313, at *4 (C.D. Cal. July 25, 2014)

   (dismissing vicarious liability claim where infringing content was not the draw for defendant’s

   patients).

           This case presents the digital version of Coach’s physical-world analog. As pled, the P2P

   technologies and related websites at issue function as a digital swap meet. See Coach, 2012 WL

   12887010, at *8. Allegedly infringing subscribers act as the directly infringing retailers by ex-

   changing infringing material using the swap meet (P2P technology) as the vehicle for such ex-

   change. Charter, however, is akin to the landlord—not the operator—as it merely provides the
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   digital space—internet access—in which the alleged direct infringers operate. Just as the land-

   lord-defendant in Coach could not be held vicariously liable for the swap meet, Charter cannot,

   as a matter of law, be held vicariously liable for the acts of the alleged infringers—in both cases

   the financial benefit is too attenuated. See id. Charter is even further removed from the alleged

   direct infringers than the landlord at issue in Coach, as it merely provides a means of access to

   the internet and does not in any manner control the “premises” of the internet. Any direct finan-

   cial benefit from the alleged infringement would pass to providers of unlawful services, while

   only indirect benefits—subscription fees instead of rent, and flat-fee rates at that—would flow to

   Charter. Such indirect benefits are insufficient to support vicarious liability as a matter of law.

           Consider Perfect 10 v. Giganews, for example, where a copyright owner sued an operator

   of Usenet servers, an online distributed discussion system enabling user-generated content, for

   infringement of images posted by users onto online bulletin boards. 847 F.3d at 674. As the

   Ninth Circuit recognized, Giganews could not be held vicariously liable unless the plaintiff es-

   tablished that “Giganews attracted subscriptions because of the infringing Perfect 10 material.”

   Id. (emphasis added). Perfect 10 failed to do so, offering only evidence that some subscribers

   joined Giganews to access infringing materials generally. Id. Thus, the fact that a user may have

   accessed the copyrighted material was as best an added benefit to the subscription, not the draw

   sufficient to support a finding of vicarious liability. Id.

           Likewise, here Plaintiffs fail to allege a plausible causal connection between any alleged

   direct infringement and the subscription fees received by Charter. For example, Plaintiffs do not

   allege that infringers specifically chose Charter over other providers so they could infringe Plain-

   tiffs’ copyrights, or that other ISPs were terminating subscribers, leading them to seek out Char-

   ter as a safe haven. Nor do they, or can they, allege that Charter itself owns or operates any file-



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   sharing service, that Charter promotes or directs traffic to BitTorrent, or that Charter receives any

   compensation from peer-to-peer file sharing services. The only financial benefit that Charter re-

   ceives is a flat fee for the provision of internet services, which is insufficient to state a claim. El-

   lison, 357 F.3d at 1079 (holding that “flat periodic payments for service” cannot establish a di-

   rect financial benefit for vicarious liability).

           At most, Plaintiffs assert that subscribers are able to utilize their internet connection for

   illegal activity as an added benefit to the subscribers, not the draw. Giganews, 847 F.3d at 674;

   Ellison, 357 F.3d at 1079; see also Grande, 2018 WL 1096871, at *10. Plaintiffs allege that

   “[m]any of Charter’s subscribers are primarily drawn to its service because it allows them to use

   Charter’s network to download music and other copyrighted content—including unauthorized

   content—as efficiently as possible.” Compl. ¶ 75. Without more, however, it is not plausible that

   subscribers subscribe to Charter’s internet service—as compared to many other sources of inter-

   net service available to them—for the primary purpose of committing infringement. 5

           This is precisely why another district court found the allegations of vicarious liability de-

   ficient in a recent case that many of the same Plaintiffs brought against a smaller regional ISP,

   Grande Communications. See Grande, 2018 WL 1096871. As the court in Grande recognized in

   dismissing the plaintiffs’ vicarious liability claim with prejudice on the pleadings, allegations of

   “the existence of music and the BitTorrent protocol” were insufficient to plead a draw, because

   “that would impose liability on every ISP, as the music at issue is available on the [i]nternet gen-

   erally, as is the BitTorrent protocol, and is not something exclusively available through Grande’s

   services.” Id. at *10. Absent more particularized allegations of a causal connection between the



   5
    Amendment cannot cure this defect because Plaintiffs’ theory that infringing activity is the
   draw is factually implausible in light of the multitude of noninfringing uses of the internet,
   access to which is critical for individuals in contemporary society. See, e.g., infra., note 2.
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   ISPs’ alleged conduct and the alleged direct infringement, the plaintiffs failed to adequately

   plead that “the availability of infringing material act[ed] as a draw for customers.” Id.

          Plaintiffs make substantially the same allegations here. They do not allege that Charter

   specifically targeted infringing subscribers, or that Charter’s flat-rate revenues depend on

   whether its subscribers use its internet services for infringing activity versus lawful purposes.

   Plaintiffs do allege that Charter offers a tiered pricing structure based on the speed of the internet

   service. However, such allegations are immaterial. First, Plaintiffs fail to plead with specificity

   that Charter encourages subscribers to purchase a faster package for the purpose of infringing or

   markets its faster tiers to those who infringe Plaintiffs’ copyrights. See Compl. ¶ 75 (failing to

   suggest Charter markets its services for unlawful purposes). Nor do Plaintiffs plead that infring-

   ing subscribers disproportionately subscribe to higher speed tiers as compared to noninfringing

   subscribers. Cf. ¶ 75 (noting only that Charter’s service permits subscribers to “download just

   about anything instantly” and “download 8 songs in 3 seconds.”). Moreover, Plaintiffs do not,

   and cannot, allege that those who illegally download music want faster speeds than those who do

   so legally, much less than those who download considerably larger movie or other files. Such al-

   legations would be implausible, as subscribers paying for higher tiers of service for lawful uses

   want to download content just as fast as those doing so illegally. In any event, the financial bene-

   fit must be direct, and the theory here would not be that Charter directly charges more to those

   who access file-sharing sites like BitTorrent or even to those who download more material, but

   rather that Charter, at most, indirectly benefits from the possibility that those who illegally share

   music may want faster internet speeds.




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          Instead, Plaintiffs allege generally that Charter’s high-speed internet service facilitates

   the downloading of copyrighted materials, which in turn “has served to draw, maintain, and gen-

   erate higher fees from paying subscribers to Charter’s service.” Compl. ¶¶ 4, 75, 105. But if

   those allegations were enough to support vicarious liability, such a view “would impose liability

   on every ISP,” as the cited technological capabilities are “available on the [i]nternet generally”—

   not “exclusively available through [Charter’s] services.” Grande, 2018 WL 1096871, at *10. As

   pled, therefore, the allegations would allow a copyright holder to sue ISPs for the mere provision

   of internet access—services which provide “the principal sources for knowing current events,

   checking ads for employment, speaking and listening in the modern public square, and otherwise

   exploring the vast realms of human thought and knowledge.” Packingham v. North Carolina,

   137 S. Ct. 1730, 1737 (2017); see also supra n.3. Given the “wide swath of conduct” that is in-

   nocent, Plaintiffs claims are implausible. Robbins, 519 F.3d at 1247. Such allegations are insuffi-

   cient to support vicarious liability. Grande, 2018 WL 1096871 at *10; Sony, 464 U.S. at 431.

          Plaintiffs attempt to cure the pleading defect highlighted by the court in Grande; how-

   ever, this effort is futile because Plaintiffs cannot establish any plausible casual connection be-

   tween the alleged infringement and any financial benefit received by Charter. Compare Grande,

   2018 WL 1096871, at *10 with Compl. ¶ 91. Specifically, Plaintiffs allege that “Charter’s failure

   to police its infringing subscribers adequately drew subscribers to purchase Charter’s services, so

   that the subscribers could then use those services to infringe Plaintiffs’ (and others’) copyrights.”

   Compl. ¶ 91. Yet, Plaintiffs allege no facts that plausibly assert how subscribers knew, learned,

   or had reason to believe that Charter was not terminating subscribers, or, equally importantly,

   how Charter received any more of a benefit from these subscribers than others. Plaintiffs also fail

   to plead that other ISPs were terminating subscribers based upon notifications alleging that such



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   subscribers were committing copyright infringement, such that Charter’s failure to do so (im-

   plausibly assuming such failure was known by consumers selecting an ISP service and that such

   knowledge guided their purchase decision, neither of which is alleged – nor could they be – by

   Plaintiffs) was material to its subscribers’ purchasing decisions.

          Absent such allegations, the notion that Charter received a “direct financial benefit” by

   merely providing internet service is not plausible, as Plaintiffs do not assert how an alleged fail-

   ure to terminate account holders plausibly served as the draw for new subscribers. Ridge at Red

   Hawk, 493 F.3d at 1177 (“[T]he mere metaphysical possibility that some plaintiff could prove

   some set of facts in support of the pleaded claims is insufficient; the complaint must give the

   court reason to believe that this plaintiff has a reasonable likelihood of mustering factual support

   for these claims.”). Amendment cannot cure the deficiencies in Plaintiffs pleadings on vicarious

   liability, because plaintiffs cannot, as a matter of law, muster factual support for this theory. Id.

   Thus, Plaintiffs’ efforts to plead vicarious liability are inherently flawed in this context, and the

   vicarious liability claim should be dismissed with prejudice.

                  3.      Plaintiffs also fail to plausibly allege Charter maintained the right and
                          ability to control infringement by its subscribers.

          Dismissal is independently warranted because Plaintiffs also fail to plausibly allege that

   Charter had the right and ability to control the alleged infringing activity of its subscribers. “[A]

   defendant exercises control over a direct infringer when he has both a legal right to stop or limit

   the directly infringing conduct, as well as the practical ability to do so.” Amazon.com, 508 F.3d

   at 1173 (citing Grokster, 545 U.S. 930). Plaintiffs have failed to allege that Charter exercises any

   practical ability to control the online activity of the allegedly infringing subscribers here, and that

   too warrants dismissal of their vicarious liability claim.




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          Plaintiffs allege in conclusory fashion that Charter’s “ability to control and supervise” its

   subscribers arises from its ability to terminate customers. See, e.g., Compl. ¶ 86. But the fact that

   Charter has the general capability to terminate subscriber accounts altogether does not mean it

   has the ability to halt infringement in particular. Indeed, Plaintiffs do not (and cannot) allege that

   outright terminating access from Charter would restrict that subscriber’s access to the infringing

   content. Such an allegation would be farfetched given the availability of other networks and pro-

   viders of internet access to the same material. The Complaint does not allege that Charter has the

   “right and ability to control and supervise” its subscribers’ conduct online generally, or that

   Charter can “stop or limit [subscribers] from reproducing, displaying, and distributing infringing

   copies of [Plaintiffs’ works] on the [i]nternet.” See, e.g., Amazon.com, 508 F.3d at 1157.

          The Complaint’s deficiency in this regard confirms that Plaintiffs are leveling their

   claims at the wrong entity. Courts have specifically distinguished between general-purpose ISPs

   like Charter or Google and file-sharing protocols and websites like BitTorrent or Napster. Id. For

   instance, in Amazon.com, the Ninth Circuit held that because “Napster had a closed system re-

   quiring user registration, and could terminate its users’ accounts and block their access to the

   Napster system, Napster had the right and ability to prevent its users from engaging in the in-

   fringing activity of uploading file names and downloading Napster users’ music files through the

   Napster system.” Id. As it further explained, however, Google had no such ability—and therefore

   no liability. As the court recognized, although Google could curtail some infringement indirectly

   by terminating accounts, that was insufficient to establish vicarious liability as it did not exercise

   the supervisory powers required to establish the claim. Id. (“Google cannot stop any of the third-

   party websites from reproducing, displaying, and distributing unauthorized copies of Perfect 10’s

   images because that infringing conduct takes place on the third-party websites. Google cannot



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   terminate those third-party websites or block their ability to host and serve infringing full-size

   images on the [i]nternet.”) (internal quotation omitted). As the court explained, this distinguished

   Google’s service from both Napster (which had the ability to control infringing conduct by

   searching its own index for infringing files) and the swap meet operator in Fonovisa (which had

   the ability to identify and police infringing activity on its own premises). Id. at 1174. In contrast

   to these closed systems, Plaintiffs cannot plausibly allege that Charter has the ability to identify

   and police infringing activity on the internet at large.

           The Ninth Circuit reaffirmed this reasoning in Perfect 10, Inc. v. Visa Intern. Service

   Ass’n., 494 F.3d 788 (9th Cir. 2007). There, Perfect 10 sued credit card companies for failing to

   terminate member merchant accounts that were profiting from alleged copyright infringement.

   Id. at 803. Relying on Amazon.com, the court held that although the credit card companies had

   the authority to terminate merchant accounts that engaged in illegal activity, such termination did

   not equate to the right and ability to control required for vicarious infringement. Id. The court

   reasoned that while terminating such member accounts could have some “indirect effect on the

   infringing activity,” a “defendant must have the right and ability to supervise and control the in-

   fringement, not just affect it.” Id. at 8056; see also Io Grp., Inc. v. Veoh Networks, Inc., 586 F.

   Supp. 2d 1132, 1151 (N.D. Cal. 2008) (“[T]he pertinent inquiry is not whether [the defendant]

   has the right and ability to control [its] system, but rather, whether it has the right and ability to



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     Although in BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc, 149 F. Supp. 3d 634, 674–75
   (E.D. Va. 2015), aff’d in part, rev’d in part, 881 F.3d 293 (4th Cir. 2018), the court declined to
   grant summary judgment to Cox on vicarious liability, ultimately the jury found no such liability.
   See BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d 293, 300 (4th Cir. 2018).
   Moreover, that court’s conclusion that the ability to terminate subscribers could give Cox the
   ability to control infringing activity is fundamentally faulty because it presumes that terminating
   subscribers would halt infringement. Id. Here, Plaintiffs cannot plausibly allege that Charter has
   the ability to control its subscriber’s allegedly infringing activity, or that terminating subscribers
   will stop infringement.
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   control the infringing activity.”). Plaintiffs’ theory is further attenuated on this prong because,

   unlike Veoh, which operates a closed system network requiring user registration, Charter merely

   provides a pipeline to the internet and has no control over activity on the internet.

          Like Google and Visa, Charter has no practical ability to control subscribers’ general ac-

   cess to infringing content available using P2P protocols or the allegedly infringing conduct

   online. Moreover, Plaintiffs’ termination remedy suffers from “imprecision and overbreadth”

   based on the inability to confirm allegations in a notice, the extremity of the measure, and the

   failure to halt infringing activity from another source. Amazon.com, 508 F.3d at 1175. Charter’s

   terminations may have some indirect effect on copyright infringement, but indirect effects do not

   satisfy the standard. Plaintiffs’ vicarious liability claim should thus be dismissed.

                                             CONCLUSION

          For the foregoing reasons, Charter respectfully requests that Plaintiffs’ vicarious liability

   claim be dismissed. Because Plaintiffs cannot remedy the defects in that claim with further alle-

   gations, amendment would be futile and dismissal should be with prejudice.

          WHERFORE, Defendant Charter Communications, Inc. prays that this Court dismiss the

   second claim for relief (vicarious infringement) with prejudice, and grant Charter such other and

   further relief as the Court deems just and proper. A proposed Order is submitted herewith.

          Respectfully submitted this 28th day of May, 2019.

                                                  Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on this 28th day of May, 2019, a true and correct copy

   of the foregoing DEFENDANT CHARTER COMMUNICATIONS, INC.’S MOTION TO

   DISMISS PLAINTIFFS’ CLAIM FOR VICARIOUS LIABILITY was served electronically

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